Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 1 of 25

IN THE UNITED STATES DISTRICT COURT
FOR THE MIDDLE DISTRICT OF PENNSYLVANIA

THE PUBLIC INTEREST LEGAL

FOUNDATION,
Plaintiff,
v. : NO. 1:19-CV-00622
KATHY BOOCKVAR, in her official : JUDGE CONNER
capacity as Acting Secretary of the :
Commonwealth of Pennsylvania, : ELECTRONICALLY FILED

JONATHAN M. MARKS, in his official
capacity as Deputy Secretary for
Elections and Commissions, and the
BUREAU OF COMMISSIONS,
ELECTIONS AND LEGISLATION,

Defendants.

DEFENDANTS’ MEMORANDUM OF LAW IN SUPPORT OF MOTION
FOR SUMMARY JUDGMENT PURSUANT TO FED. R. CIV. P. 56

Daniel T. Brier

Donna A. Walsh

Suzanne P. Scanlon

Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503

(570) 342-6100

Counsel for Defendants,

Acting Secretary Veronica
Degraffenreid and Deputy Secretary
for Elections and Commissions
Jonathan M. Marks
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 2 of 25

TABLE OF CONTENTS
INTRODUTION.......cccceccecccsccsssesscstsesecsecsecsnessscersessscesessseseesseesesesensasesseseeneesseneenees 1
FACTUAL BACKGROUND AND PROCEDURAL HISTORY ......eecseesesseeeees 2
ARGUMENT. .....ccccccccscsscesscssscsccesscseceseesecseeseccnssesssseeesscesessesesecnnesnsecnneseeasseeneeerenegees 9

A. Documents relating to the “matching analysis” are not subject to

disclosure under the NVRA..........::cccsssssessssceeseresseesesneeeenaeesrseesnesensons 11
B. Documents received from counties relating to requests for

cancellation due to non-citizenship have been produced ............000 15
C. The Department of State has no responsive communications with

jury Selection OFFICIALS... cceseseteseteeeeeeeeeeenenetenenseseeneesesensneseseeneney 16
D. The Department of State has no responsive communications with

law enforcement OffiCIAlS .........c ce eeeseesrcenseeeesteeeeeneeeneeeeesanereaeenseonees 17
E. — There is no genuine issue for trial..........ceeeeeseteeeeeenseeseeseneeneseeneneens 18
F. Deputy Secretary Marks is not a proper defendant ............s.scsseeees 18

CONCLUSION ....eecccccccscccscsssessceseesscsscescesceeesesessesssessensssseensesnaessasesaeoneacnesessssneens 19
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 3 of 25

TABLE OF AUTHORITIES
CASES

Anderson v. Liberty Lobby, 477 U.S. 242 (1986) w.cccssseteterrererereseeeeneneneenenn 10
Celotex Corp. v. Catrett, 477 U.S. 317 (1986) v.ceseceeeeetsesenessetesereteneenenenensneneeees 9
Inre Continental Airlines, Inc., 279 F.3d 226 (3d Cir. 2002) .....cccecesesetetenereees 8
League of United Latin Am. Citizens v. Public Interest Legal Found.,

No. 1:18-CV-00423, 2018 WL 3848404 (E.D. Va. Aug. 13, 2018)... eee 14
Matsushita Elec. Indus. Co., Ltd. y. Zenith Radio Corp.,475 U.S. 574 (1986)...... 10
Project Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320 (N.D. Ga. 2016)... 14

Project Vote/Voting for Am., Inc. v. Long, 752 F. Supp. 2d 697 (E.D. Va. 2010) .14

Public Interest Legal Found. v. Boockvar, 370 F. Supp. 3d 449 (M.D. Pa.

2019) ..eccscscsesssseresececeeesescscsescsessscnsasacsssesessesessesenenenenssesesssnessseseseeteresenesenenenenennseseenes 6
Public Interest Legal Found. v. Boockvar, 431 F. Supp. 3d 553 (M.D. Pa.

2019) .ecccssssssscssssscscesecescnceescscscsesesssssecscsesssesesensnenenesenenensscnssesensssesesesseseneneesseates 8, 11
Public Interest Legal Found., Inc. v. Bell, No. 19-CV-248, 2019 WL

5290920 (E.D.N.C. Oct. 17, 2019).....cccecsecerereetesenesnereerstsssseteserseneneneeenens 13, 14
Ramara, Inc. v. Westfield Ins. Co., 814 F.3d 660 (3d Cir. 2016)... 10

STATUTES

18 U.S.C. § 272] ciccccccccsesssccsseceserssessescssssvessseesecsssensssseeensensaeeecsesessesessssevesseneneeesranensss 8
18 U.S.C. § 27218) cccccsccsssessecesesseccscsesevsssesesesenseseseeeeereescnsnsseesseessasensseesasseseererensaees 11
18 U.S.C. § 2725(3).sccsesssseeessesseseeneenee vessusaceuesuseuesussussussussussscsessesueaesscsecseeseeseeneensess 11
52 U.S.C. § 10307 vcccceccssscsseeerereteserssevssscscseseasseseseseneeeenenceenesecsssesesenssneneseesseeeeanenesey 14
52 U.S.C. § 20507 (i)(1) .ceeeeseeescreesesrsesssesscsesseeneesesenenseesesssnersesesssssnaseesesseseseseseas 10, 17

i
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 4 of 25

52 U.S.C. § 2051 0(D)(1) ..eeeeeeecsesesscesesssesenesesesseenecsenesenssesesessssesenessenenenenensaseresesens 18
25 PLS. § 2621 iiceccccccscssssessesesceessssscsessseeneeeseneenensesnensrssenseserssrssssesesesanensasacesensasneeseses 18
25 Pa. C.S.A. § 1203 (a) ...cccsececsesceeserseseesetseeesensesenaesessensesseseessensensesenessenentnen sens 6, 15
25 Pa. C.S.A. § 1203(h)....ceccsctcseesssesssssesecsesenenseseneeesaseensnseresessensseeseeesessanenensneereesgss 6
25 Pa. C.S.A. § 1203 (i)..cceeccesctcssecsessssesesseseeneeeesenseseneeesessessnssesssseseneesseeneeeeneneeneney 6
25 Pa. C.S.A. § 190] veeeccccenctcessessesssesssesssesessssessssenenessesesssssseseeresseessenenrseereeseseeaeeey 6
25 Pa. C.S.A. § 1901(a) .cccccccccsessssssrsescscnssscsesenesssnesessenenersesessssseeessseessersneaenensesenees 16
AD Pa. C.S.A. § 5928 vecccccccecesctsssesesessnsssssessnesenseseneracteressesseesssresessenesseneseneeeneneenes 3,12
Fed. R. Civ. P. 26(b)(3)(A) o.eceeeeececeeeseseteeesecseseseseenenereresesseenenesssssseneeersensneens 3,12
Fed. R. Civ. P. 26(b)(4)(D) .c.ceeccesssseseceresseesseseseserenersessenseneenesseesseneseenenensnenenty 3, 12
Fed. R. Civ. P. 56(a)..cccccsssscsesecsesesesevscseessesesesssseenesessesesseserssesnesegseneersnenensnenenenesgs 10
Fed. R. Civ. P. 25(d)...ccccesceesesssessessesssesscsseesseessesneressenesssssssceseseseesessensesenenenaenene essed 1

Pa. R. Civ. P. 4003.3 ....cccesccesccesscsseesseesescensesseeessscsnaeesseesenssssesasesseessneeeneneeraes nes 3,12

ill
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 5 of 25

INTRODUCTION

Plaintiff Public Interest Legal Foundation (“PILF”) seeks to access four
categories of documents concerning a Motor Voter system error pursuant to the
public disclosure provision in the National Voter Registration Act (““NVRA”), 52
U.S.C. § 20507(i). By Memorandum and Order dated December 13, 2019 (ECF
23), the Court ruled that the first category of records sought by PILF—records
relating to analysis of persons identified as having registered to vote through the
Motor Voter process but who may not satisfy the citizenship requirement—are not
subject to public inspection to the extent those records derive from driver license
records which are protected by federal law. With regard to the other records
sought by PILF, the Pennsylvania Department of State has either produced
responsive records or confirmed that no responsive records exist. As a result, there
is no genuine issue for trial and Defendants Acting Secretary of the
Commonwealth Veronica Degraffenreid! and Deputy Secretary Jonathan M. Marks

are entitled to summary judgment in their favor.

! The Complaint in this matter names Kathy Boockvar as a defendant in her
(then) official capacity as Acting Secretary of the Commonwealth of Pennsylvania
(she was later named Secretary of the Commonwealth). Compl. (ECF No. 1) 6.
Secretary Boockvar resigned from office on February 5, 2021. Acting Secretary
Veronica Degraffenreid was appointed on February 8, 2021. Pursuant to Federal
Rule of Civil Procedure 25(d), Acting Secretary Degraffenreid is “automatically
substituted as a party.”
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 6 of 25

FACTUAL BACKGROUND AND PROCEDURAL HISTORY

The request for records at issue in this case stems from the 2017 discovery
that a software error at the Pennsylvania Department of Transportation
(“PennDOT”) may have allowed non-citizens to inadvertently register to vote
when applying for or renewing a driver license. Marks Decl. 7 2 By the end of
2017, the Department of State and PennDOT completed improvements to the
Motor Voter interface to prevent non-citizens from being offered voter registration
screens. Id. | 8.

The Department of State also commenced an investigation to better
understand the scope of the issue. The Department of State collaborated with
PennDOT to compare records in the voter registration database—the Statewide
Uniform Registry of Electors (“SURE”)—with the PennDOT driver license
database to identify driver license record containing a visitor, immigration or
naturalization status—so-called “INS indicators.”? Marks Decl. J 12. Importantly,
the mere presence of an INS indicator does not signify that a driver is a non-

citizen. In fact, an INS indicator can also signify that a driver is a naturalized

2 The Declaration of Deputy Secretary Jonathan M. Marks is attached hereto
as Exhibit “A.”

3 PILF concedes that an INS indicator in a driver record does not mean that the

driver is not a U.S. citizen. See Adams Dep Tr. (attached as Exhibit “B”) at 112-
13 (“[Y]ou could have a naturalized citizen with an INS indicator.”’).

2
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 7 of 25

citizen and therefore eligible to vote. Further, INS indicators are point-in-time data
that can and do change over time (e.g., a visa holder may become a U.S. citizen
and therefore eligible to vote). Accordingly, the initial high-level comparison of
the SURE database and driver license records did not identify non-citizen
registrants but rather identified a much larger group of registrants that included
citizens who may have been non-citizens at some prior point in time. Jd. {| 13-14.

Anticipating litigation arising from the Motor Voter software error, in late
2017, then-Acting Secretary of the Commonwealth Robert Torres engaged the
Office of Chief Counsel for legal advice concerning potential registration and
voting by non-citizens, including analysis of data derived from the PennDOT
driver license database. Torres Aff. [ 64; see also Marks Decl. §{] 15-16. The
attorney-client and work product privileges protect communications between
Department of State officials and counsel and between counsel and any expert
retained by counsel. See Fed. R. Civ. P. 26(b)(3)(A); Fed. R. Civ. P. 26(b)(4)(D);
42 Pa. C.S.A. § 5928; Pa. R. Civ. P. 4003.3.

Following media reports concerning the software error, PILF sent a letter to

Deputy Secretary Marks on or around October 23, 2017 requesting access to

+ The Affidavit of then Acting Secretary Robert Torres is attached hereto as
Exhibit “C.”
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 8 of 25

documents relating to the Motor Voter issue pursuant to the NVRA. The records
PILF sought are:

1. Documents regarding all registrants who were
identified as potentially not satisfying the citizenship
requirements for registration from any official
information source, including information obtained
from the various agencies within the U.S. Department
of Homeland Security and the Pennsylvania
Department of Transportation since January 1, 2006.
This request extends to all documents that provide the
name of the registrant, the voting history of such
registrant, the nature and content of any notice sent to
the registrant, including the date of the notice, the
response (if any) of the registrant, and actions taken
regarding the registrant’s registration (if any) and the
date of the action... . This request includes all voter
records that were referenced in recent news media
reports regarding individuals improperly exposed to
registration prompts due to a “glitch” in PennDOT’s
Motor Voter compliance system. At least one news
report claims that “a Pennsylvania Department of
State review is underway.” I seek all voter records
contained in this review.

2. All documents and records of communication
received or maintained by your office from registered
voters, legal counsel, claimed relatives, or other
agents since January 1, 2006 requesting a removal or
cancellation from the voter roll for any reason related
to non-U.S. citizenship/ineligibility. Please include
any official records indicating maintenance actions
undertaken thereafter.

3. All documents and records of communication
received or maintained by your office from jury
selection officials—state and federal—since January
1, 2006 referencing individual who claimed to be non-
U.S. citizens when attempting to avoid serving a duty
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 9 of 25

call. The request seeks copies of the official referrals
and documents indicating where your office or local
registrars matched a claim of noncitizenship to an
existing registered voter and extends to the
communications and maintenance actions taken as a
result that were memorialized in any written form.

4. All communications regarding list maintenance

activities relating to #1 through 3 above to appropriate

local prosecutors, Pennsylvania Attorney General,

Pennsylvania State Police, any other state law

enforcement agencies, the United States Attorney’s

office, or the Federal Bureau of Investigation.
See Oct. 23, 2017 Letter at 1-2 (Compl., Ex. H). PILF sent a follow up letter on
December 4, 2017 reiterating its request and clarifying that it was seeking “results
(full or interim) from an aforementioned official review of voter data compared
against PennDOT’s database of customers to identify voters with matching driver
profiles containing noncitizen designations. .. .” See Dec. 4, 2017 Letter at 1
(Compl., Ex. I).

Shortly after PILF sent its first letter, on October 25, 2017, the Motor Voter
software error was the subject of a public hearing before the House State
Government Committee. Deputy Secretary Marks provided written and oral
testimony at the legislative hearing concerning a preliminary review by the
Department of State which found 1,160 records indicating that persons apparently

canceled their voter registrations because they were not U.S. citizens. Marks Deel.

44 9-10. Deputy Secretary Marks cautioned that the data was preliminary and
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 10 of 25

needed to be further validated by county election officials to ensure accuracy. Id. 4
10. In Pennsylvania, voter registration is entrusted by statute to the counties and
only counties are authorized to investigate a registrant’s eligibility and cancel voter
registrations. 25 Pa. C.S.A. § 1203(a), (h), (i); 25 Pa. C.S.A. § 1901.

While the Department of State’s review of the Motor Voter issue was
ongoing, Deputy Secretary Marks sent a letter to PILF on December 20, 2017
denying its request for inspection of records under the NVRA. The letter advised
that the public disclosure provision in the NVRA authorized public access only to
records relating to programs for removing voters who have died or changed
residence and, even if the NVRA were interpreted as applying to removal
programs aimed at non-citizens, the Commonwealth had no such program in place
and therefore no records to produce. See Dec. 20, 2017 Letter at 1 (Compl., Ex. J).

PILE commenced an action in this Court on February 26, 2018 (docketed at
No. 18-CV-463) seeking to compel disclosure of the records requested in the
October 23 and December 4, 2017 letters. By Memorandum and Order dated
February 26, 2019, the Court dismissed the complaint in No. 18-CV-463 because
PILF failed to give then-Acting Secretary Torres the written notice required by the
NVRA prior to commencing litigation under the statute. Public Interest Legal

Found. v. Boockvar, 370 F. Supp. 3d 449, 457-58 (M.D. Pa. 2019).
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 11 of 25

Preparatory to bringing a second action, PILF re-issued the October 23 and
December 4, 2017 letters to then-Secretary Boockvar and Deputy Secretary Marks
on March 20, 2019. Compl., Ex. N. By letter dated April 9, 2019, Deputy
Secretary Marks responded by reiterating the Department of State’s view that the
NVRA does not require programs to remove non-citizens and also advising that the
Commonwealth has no such program and therefore no documents to produce. See
Apr. 9, 2019 Letter (Compl., Ex. Q).

PILF commenced the present action against former Secretary Boockvar and
Deputy Secretary Marks on April 10, 2019, reasserting the same claim for relief
under the public disclosure provision in the NVRA and seeking, in addition to the
records itemized in the October 23, 2017 and December 4, 2017 requests, records
relating to letters the Department of State sent to certain registrants in 2018
advising them of the Motor Voter software error. Compl. {[] 103-07.

The Secretary and Deputy Secretary filed a motion to dismiss PILF’s second
Complaint on May 8, 2019 and argued that the public disclosure provision applies
only to documents relating to programs required by the NVRA and therefore only
to programs for removing the names of registrants who have died or moved away.
The Secretary and Deputy Secretary also argued that the records sought by PILF—
the results of any comparison of the driver license database with the SURE

database—are protected from disclosure by the Driver’s Privacy Protection Act
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 12 of 25

(“DPPA”), 18 U.S.C. § 2721. The Court disagreed with the former argument and
agreed with the latter.

Specifically, the Court found that the disclosure provision in the NVRA iS
not limited to records relating to registrant death or change in residence, but also
applies to systems designed to identify registrants who are ineligible to vote due to
noncitizenship status. Public Interest Legal Found. v. Boockvar, 431 F. Supp. 3d
553, 561 (M.D. Pa. 2019). Asa result, the Court ruled that PILF is entitled to
inspect “documents obtained from non-DMV sources regarding potential
noncitizen registrants, records of noncitizens requesting removal or cancellation
from the voter roll, communications with jury selection officials, and
communications with prosecutors.” Id. at 562.

The Court also ruled that “glitch-related records and derivative lists created
during the Commonwealth’s investigation are protected by the DPPA to the extent
they include personal information obtained by the DMV in connection with a
motor vehicle record.” Jd. at 563. “[A] compilation of driver’s license numbers—
with or without INS indicators—is protected from redisclosure under the DPPA
unless subject to an exception,” and no exception is applicable here. Id. at 563-64.
This decision constitutes the law of the case. See In re Continental Airlines, Inc.,
279 F.3d 226, 232 (3d Cir. 2002) (“The doctrine of the law of the case . . . limits

relitigation of an issue once it has been decided.”).
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 13 of 25

The Department of State has since provided PILF with copies of responsive
documents that do not implicate protected driver license records, including the
form letters sent to registrants asking them to confirm their eligibility or cancel
their registrations, communications with county officials concerning the letters and
summary data showing the breakdown of responses received. See Summary Chart
attached as Exhibit “D.” The Department of State has also provided PILF with
copies of records forwarded by counties relating to requests received by the
counties for cancelation of voter registration due to non-citizenship. Jd. Further,
the Department of State has confirmed that it conducts no regular programs or
activities involving communications with jury officials or prosecutors concerning
non-citizens registering to vote and has no documents to produce in response to
these requests. Id. Fact discovery concluded on February 17, 2021. No party
produced any expert reports.

ARGUMENT

Summary judgment is proper where “there is no genuine dispute as to any
material fact and the movant is entitled to judgment as a matter of law.” Fed. R.
Civ. P. 56(a). The rule mandates the entry of summary judgment “against a party
who fails to make a showing sufficient to establish the existence of an element
essential to that party’s case, and on which that party will bear the burden of proof

at trial.” Celotex Corp. v. Catrett, 477 U.S. 317, 322 (1986). The court is to view
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 14 of 25

the evidence in the light most favorable to the non-moving party and draw all
reasonable inferences in that party’s favor. Matsushita Elec. Indus. Co., Ltd. v.
Zenith Radio Corp., 475 U.S. 574, 587 (1986). A party cannot avoid summary
judgment by resorting to speculation or conjecture. Ramara, Inc. v. Westfield Ins.
Co., 814 F.3d 660, 666 (3d Cir. 2016). The non-movant must point to evidence
that is sufficient to sustain a judgment in favor of the non-moving party. Anderson
y. Liberty Lobby, 477 U.S. 242, 252 (1986). Otherwise, “[t]he court shall grant
summary judgment.” Fed. R. Civ. P. 56(a).

PILF has not met and cannot meet its burden. The documents it seeks are
not subject to inspection under the NVRA* or have already been produced and, as a

result, there is no genuine issue for trial.

5 The public disclosure provision in the NVRA provides:

Each State shall maintain for at least 2 years and shall
make available for public inspection and, where
available, photocopying at a reasonable cost, all records
concerning the implementation of programs and activities
conducted for the purpose of ensuring the accuracy and
currency of official lists of eligible voters, except to the
extent that such records relate to a declination to register
to vote or to the identity of a voter registration agency
through which any particular voter is registered.

52 U.S.C. § 20507(i)(1).

10
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 15 of 25

A. Documents relating to the “matching analysis” are not subject to
disclosure under the NVRA.

The first category of records sought by PILF are “[d]ocuments regarding all
registrants who were identified as potentially not satisfying the citizenship
requirements for registration from any official information source, including
information obtained from the various agencies within the U.S. Department of
Homeland Security and the Pennsylvania Department of Transportation since
January 1, 2006.” Compl. § 69 & Ex. H. PILF later clarified that it is seeking
“results (full or interim) from an. . . official ‘review’ of voter data compared
against PennDOT’s database of customers to identify voters with matching driver
profiles containing noncitizen designations.” Compl. {82 & Ex. I. The requested
comparison of voter data and driver license records—teferred to by PILF as “the
Noncitizen Matching Analysis,” Compl. {{] 65-67, 96—necessarily involves driver
license data protected by the DPPA. The DPPA prevents state representatives
from disclosing “personal information . . . obtained by the department in
connection with a motor vehicle record... .” 18 U.S.C. § 2721(a); see also 18
U.S.C. § 2725(3) (defining “personal information” for purposes of DPPA as
information that identifies an individual .. .”). This Court has already ruled that
“tt}he glitch-related information requested by PILF contains analysis matching
noncitizen’s driver’s license numbers to the driver’s license numbers of registered

voters” and “is protected from redisclosure under the DPPA ... .” 431 F. Supp. 3d

11
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 16 of 25

563. Accordingly, pursuant to this Court’s ruling, the results of the so-called
matching analysis and data derived therefrom are protected from disclosure under
the DPPA and are not subject to public inspection under the NVRA.®

To the extent the Department of State possesses documents relating to its
analysis of the Motor Voter issue that do not include or are not derived from
protected driver license records, those documents have been provided to PILF.
The Department of State has produced copies of form letters sent to registrants
informing them of the Motor Voter software issue and asking them to confirm their
eligibility to vote or request cancellation of their registration, communications with
county election officials and others concerning the letters, public statements
outlining the steps taken to investigate and address the Motor Voter issue and

numerical data showing the number of letters sent and responses received. See

6 The Court’s previous disposition of this issue in deciding the motion to
dismiss makes a detailed discussion of the attorney-client privilege and work
product doctrine unnecessary, but it is important to reiterate that the documents
sought in the first category are also protected from disclosure by the attorney-client
privilege and the attorney work product doctrine. See Marks Decl. {ff 15-17. As
Deputy Secretary Marks explained, the analysis that PILF seeks was performed by
a consulting expert retained by counsel for the Department of State in anticipation
of litigation relating to the software glitch. The analysis has never been shared or
publicly disclosed. Id. § 17. As a result, communications involving counsel and
the retained expert and documents relating to the analysis are protected by the
attorney-client privilege and work product doctrine. See 42 Pa. C.S.A. § 5928;
Fed. R. Civ. P. 26(b)(3)(A); Fed. R. Civ. P. 26(b)(4)(D); Pa. R. Civ. P. 4003.3.

12
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 17 of 25

Marks Decl. | 29. Given the protection in the DPPA and this Court’s earlier
ruling, nothing more is required to be disclosed under the NVRA.

Even if the DPPA did not apply, PILF would have no right under the
NVRA to access personal information concerning individuals who received letters
from the Department of State relating to the Motor Voter issue. In a similar action
brought by PILF against North Carolina election officials, the U.S. District Court
for the Eastern District of North Carolina ruled that information concerning
registrants “identified as potential noncitizens . . . is uniquely sensitive and
vulnerable to abuse” and therefore not required to be publicly disclosed under the
NVRA. Public Interest Legal Found., Inc. v. Bell, No. 19-CV-248, 2019 WL
5290920, at *3 (E.D.N.C. Oct. 17, 2019), appeal filed, No. 19-2265 (4th Cir. Nov.
13, 2019). In that case, PILF sought access to information concerning persons
identified by North Carolina officials as potentially not satisfying the citizenship
requirements for registration during a post-election audit that included review of
North Carolina driver license records. Id. at **1, 4. The district court ruled that
the NVRA does not require public disclosure of “documents concerning . . .
registrants who were identified as potentially not satisfying the citizenship
requirement for registration” because any such identification “raises the specter of
immigration violations and criminal activity” and “is plainly the type of

information that is both sensitive and vulnerable to abuse.” Id. at *4.

13
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 18 of 25

The reasoning in PILF v. Bell applies equally here. The persons who
received letters from the Department of State have not been confirmed to be non-
citizens. Disclosure of their personal information would unnecessarily expose
them to the suggestion of immigration violations and criminal activity and the
corresponding risk of harassment, embarrassment and reputational harm. Due to
the potential for abuse, such sensitive information is not subject to public
disclosure under the NVRA. See Bell, 2019 WL 5290920, at *4; see also Project
Vote, Inc. v. Kemp, 208 F. Supp. 3d 1320, 1345 (N.D. Ga. 2016) (requiring
redaction of last four digits of telephone numbers and SSNs, birth dates and parts
of email addresses); Project Vote/Voting for Am., Inc. v. Long, 752 F. Supp. 2d

697, 712 (E.D. Va. 2010) (requiring redaction of social security numbers)’

7 The concern about potential misuse is not hypothetical. PILF has been
accused of violating the Voting Rights Act, 52 U.S.C. § 10307, by publishing
reports falsely branding Virginia registrants as being ineligible to vote and as
having committed felonies by registering to vote and voting. The U.S. District
Court for the Eastern District of Virginia denied PILF’s motion to dismiss
plaintiffs’ claims, explaining that the plaintiffs plausibly alleged that PILF’s
“reports put them in fear of harassment and interference with their right to vote.”
See League of United Latin Am. Citizens v. Public Interest Legal F ound., No. 1:18-
CV-00423, 2018 WL 3848404, at *4 (E.D. Va. Aug. 13, 2018) (decision denying
PILF motion to dismiss), PILF settled the action by, inter alia, promising not to
include personal information in future reports on alleged noncitizen registration in
Virginia. Sam Levin, “Voter Fraud Activist Will Apologize to Citizens He
Accused of Being Illegal Voters,” https://www.huffpost.com/entry/j-christian-
adams-pilf-settlement n_5d309002¢4b0419fd3298ec6, July 18, 2019 (last visited
May 3, 2021).

14
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 19 of 25

In summary, PILF is not entitled to results of any comparison of driver
license records and other state databases or data resulting from any such
comparison, and PILF has already received copies of communications with
registrants and county election officials and information concerning the steps taken
to address the Motor Voter issue. There is no genuine issue for trial with respect to
the first category of records sought by PILF.

B. Documents received from counties relating to requests for
cancellation due to non-citizenship have been produced.

Second, PILF sought “[a]ll documents and records of communications
received or maintained by your office from registered voters, legal counsel,
claimed relatives, or other agents since January 1, 2006 requesting a removal or
cancellation from the voter roll for any reason related to non-U.S.
citizenship/ineligibility” and “any official records indicating maintenance actions
undertaken thereafter.” Compl. 70 & Ex. H. The Department does not process
requests for cancellation of voter registrations—only counties are authorized to
cancel voter registrations, 25 Pa. C.S.A. § 1203(a). In late 2017, however, the
Department specifically requested that counties send copies of records in the
counties’ possession relating to communications they received from persons who
self-identified as non-citizens and asked to be removed from the voter rolls. Marks
Decl. {4 11, 33. Those documents (which were received after PILF’s initial

NVRA request) were provided to PILF during the discovery process, id. {J 11, 33,

15
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 20 of 25

and PILF also apparently received copies of those same records directly from the
counties, see Compl. {| 34 (describing records obtained from county election
officials). No formal list maintenance was conducted. The registrants had already
asked the counties to cancel their registrations, Marks Decl. {J 11, and list
maintenance programs in Pennsylvania are limited by statute to programs aimed at
removing the names of registrants who have died or relocated, 25 Pa. C.S.A. §
1901(a).8 Accordingly, there are no additional records to produce in response to
the second category in PILF’s NVRA letter.

C. The Department of State has no responsive communications with
jury selection officials.

The third category of records sought by PILF are “documents and records of
communication received or maintained by your office from jury selection
officials—state and federal—since January 1, 2006 referencing individuals who
claimed to be non-U.S. citizens when attempting to avoid serving a duty call,”
including “official referrals” and maintenance actions taken as a result. Compl. {
70 & Ex. H. While the Department of State occasionally receives letters from jury

selection officials identifying persons who asked to be excused from jury service

8 The Pennsylvania Voter Registration Act provides that “[a]n elector’s
registration shall not be canceled except” at the request of the elector, upon the
death of the elector, upon confirmation that the elector has moved or pursuant to a
voter removal program designed to identify registered electors whose address may
have changed. 25 Pa. C.S.A. § 1901(a).

16
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 21 of 25

due to non-citizenship and forwards those letters to county election officials for
handling, such letters are infrequent and irregular and are not transmitted pursuant
to any established program, Marks Decl. {{[ 37-38, and therefore are not within the
scope of the NVRA public disclosure provision. Nonetheless, the Department of
State conducted a reasonable search but did not locate any such letters received in
the two-year period prior to PILF’s NVRA request’ or since the request was
received. Marks Decl. § 40. There are no documents to produce in response to the
third category in PILF’s NVRA request.

D. The Department of State has no responsive communications with
law enforcement officials.

PILF’s final request for records relates to “[a]l1 communications regarding
list maintenance activities relating to [its other requests] [sent] to appropriate local
prosecutors, Pennsylvania Attorney General, Pennsylvania State Police, any other
state law enforcement agencies, the United States Attorney’s office, or the Federal
Bureau of Investigation.” Compl. 70 & Ex. H. The Department of State no has
no such records. Marks Decl. {{] 42-43. As noted in the response to PILF’s
NVRA requests, the Commonwealth does not have an established list maintenance

program for removing non-citizens. Id. | 44. Nor did the Department of State

9 The NVRA requires states to maintain records for a two-year period. 52
U.S.C. § 20507(i)(1). PILF’s request for documents dating back to January 1,
2006 exceeds what the NVRA requires.

17
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 22 of 25

communicate with federal or state law enforcement agencies concerning persons
who may have inadvertently registered to vote as a result of the PennDOT software
error. Id. ] 42. Accordingly, even if the records requested potentially fell within
the scope of the NVRA, there are no records to produce in response to the fourth
category.

E. There is no genuine issue for trial.

The Department of State has either produced records that are properly
responsive to PILF’s NVRA requests or confirmed that no responsive documents
exist. There is no genuine issue for trial and summary judgment should be entered
in favor of Acting Secretary Degraffenreid and Deputy Secretary Marks.

F. Deputy Secretary Marks is not a proper defendant.

The public disclosure provision places the burden on “[e]ach State” to
maintain certain records and make them available for inspection, 52 U.S.C. §
20507(i)(1), and requires written notice to “the chief election official of the State
involved,” 52 U.S.C. § 20510(b)(1). The responsibility to ensure disclosure of
required records thus falls on the State itself and the Secretary of the
Commonwealth as its chief election official. See 25 P.S. § 2621. Accordingly,

Deputy Secretary Marks is not a proper defendant.

18
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 23 of 25

CONCLUSION

For the reasons above, there is no genuine issue for trial and Acting
Secretary Degraffenreid and Deputy Secretary Marks are entitled to judgment in
their favor as a matter of law.

Respectfully submitted,
/s/ Donna A. Walsh
Daniel T. Brier

Donna A. Walsh
Suzanne P. Scanlon

Counsel for Defendants,

Acting Secretary of the Commonwealth
Veronica Degraffenreid and Deputy
Secretary for Elections and Commission
Jonathan M. Marks .

Myers, Brier & Kelly, LLP
425 Spruce Street, Suite 200
Scranton, PA 18503

(570) 342-6100

Dated: May 3, 2021

19
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 24 of 25

CERTIFICATE OF COMPLIANCE WITH LOCAL RULE 7.8(b)(3)

I, Donna A. Walsh, hereby certify that the foregoing Memorandum in
Support of Motion for Summary Judgment is in compliance with Local Rule
7.8(b)(3). The brief contains 4402 words as computed by Microsoft Office Word.

/s/ Donna A. Walsh
Donna A. Walsh

Date: May 3, 2021
Case 1:19-cv-00622-CCC Document 64 Filed 05/03/21 Page 25 of 25

CERTIFICATE OF SERVICE

I, Donna A. Walsh, hereby certify that a true and correct copy of the
foregoing Memorandum of Law in Support of Motion for Summary Judgment was
served upon the following counsel of record via the Court’s ECF system on this
3rd day of May 2021:

Kaylan Phillips, Esquire

Noel H. Johnson, Esquire

Public Interest Legal Foundation
32E Washington Street, Suite 1675
Indianapolis, IN 46204

Linda A. Kerns, Esquire

Law Offices of Linda A. Kerns, LLC
1420 Locust Street, Suite 200
Philadelphia, PA 19102

/s/ Donna A. Walsh
Donna A. Walsh

